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                    EXHIBIT 24
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     Jonathan Andry .

     From:                            John Andry <johnandry@yahoo.com>
     Sent:                            Friday, July 26, 2013 1:35 PM
     To:                              Jonathan Andry
     Subjed:                          Fw:GQ




     ---- Forwarded Message -----
     From: glen Jemer <glenlemeresq@aol.com>
     To: Johnandry <johnandry@yahoo.com>
     Sent: Monday, December 17, 2012 10:01 PM
     Subject: Re: GQ

     no way to advertise for those claims with only one month left Too much liability on short notice.
     On Dec 17, 2012, at 8:56PM, Jobnandry wrote:


     Those are big hooks...sol date for presentment and no factual neA.'US needed totally objective , .

     Sent from my iPhone

     On Dec 17,2012, at 12:16 PM, glen Iemer <glenlemeresg@aol.com> wrote:

l.           trying new type of ad and see the results. Key will be guys on the ground. I want you to meet
             Shawn Chester.
             On Dec 17,2012, at 10:08 AM, John Andry wrote:


             I will fund everything .... Jn the meantime, we need to convey in advertisements that there
             does not have to be a causal nexus between the oil spill nad th~ resulting irijury to the-
             potential claimants ... Everyone tells me that they would make a claim except that-there is
             no way that the oil caused there loss of business this is not correct as the settlement is
             purely objective and if they fit they are in from a damage perspective ... Also we should
             be advertising.that if the Claims deal with oil and gas service industry that they have a
             limited amount of time to make a claim for presentment..That means thatthe statute of
             limitations runs out by Janurary 18, 2013 for those elaims.

             please provide your thoughts.

             From: glen Ierner <glenlemeresq@aol.com>
             To: Johnandry <johnandry@yahoo.com>
             Sent: Saturday, December 15, 2012 5:49 PM
             Subject: Re: GQ     ·

             I have no problem helping you if you need money for the new attorneys. I will go above and
               beyond the call of duty. We need to move these. I guarantee I bring in another 500-1000 cases
               from ads this year. Good cases. Make sure you take-care of Shawn's mom. We will get every
               doctor and dentist in gretaer Baton ROuge


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           On Dec 15,2012, at4:36 PM, Johnandry wrote:


           Cases are moving, lady antebellum ... I'll fund it and get it done...ttyl

           Sent from my iPhone

           On Dec 15, 2012, at 4:42PM, gien lemer <glenlemeresg@aol.com> wrote:

                  I thought you picked the lawyers already. You told me I owe 40% ofthe new
                  lawyer's salaries. Need to move cases brosephusl I'll come down after holidays
                  On Dec 15, 2012, at 2:45 PM, Johnandry wrote:


                  There is no doubt that it is slow..we new$$$ to fund the additional employees.. do
                  u have a lawyer to send?

                  Sent from my iPhone

                  On Dec 15, 2012, at 12:01 PM, glen lemer <glenlemeresg@aol.com> wrote:

                          when can you talk so we can all be on same page. Thought this
                          would be moving quicker by now so want to know what I can do
                          besides money to assist. PS. Don;t forgot to credit me for the
                          months SUsan's worked there since we put agreement in affeGt
                          Guly or AUgust).
(_ _                      On Dec 15, 2012, at 8:26AM, Johnandry wrote: ·


                          How many claims do they have and what are thu moving? We are
                          making a big push in the end and are gonna finish with a bang. n
                          bet we win up with more tb.&n them on the end $$$ wise..this will
                          be the best investment u ever made;.
                          Sent from my iPhone

                          On Dec 14,2012, at 10:34 PM, glen lemer
                          <glenlemeresq@aol.com> wrote:
                                  whatever. They are much better organized than we
                                  are. Move claims way faster and more efficiently.
                                  On Dec 14, 2012, at 8:30 PM, Johnandry wrote:


                                   What the fuck is the Fan train??? Stick around my
                                   friend...

                                   Sent from my iPhone

                                   On Dec 14, 2012, at 5:01 PM, glen lemer
                                   <glenlemeresq@aol.com> wrote:

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                              Blahhhh. I thought the ANdry train
                              was gonna.make Ill.e rich. The Farr
                              train is the way to go. No money
                              down and making money- all the
                              timet!
                              On Dec 14, 2012, at 3:51PM, John
                              Andry wrote:


                              you just got paid a
                              disbursment...pay it out of that

                              From: glen lemer
                              <glenlerneresg@aol.com>
                              To: John Andry
                              <lohnandry@yahoo.com>
                              Sent: Friday, December 14, 2012 4:27
                              PM
                              Subject: Re: GQ

                              We were going to pay Thon but only
                              once I'm paid,. Not paying out of
                              my pocket
                              On Dec 14, 2012, at 3:2.5 PM, John
                              Andry wrote:


C-~--                         it is Casey Thon the case that
                              Tiger referred.

                              From: glen Ierner
                              <glenlerneresg@aol.com>
                              To: John Andry
                              <johnandrv@yahoo.com>
                              Sent: Friday, December 14, 2012 3:58
                               PM
                              Subject: Re: GQ

                              what is thori?
                              On Dec 14, 2012, at 2:44PM, John
                              Andry wrote:


                              I spoke with Susan and told
                              her that we needed to figure out
                              what to do and how to do .. she
                              determin-ed that it would be better
                              to wait until the total thon was
                              done as the initial amount was
                              relatively low. Tiger sent me a
                              text this am.and i tried to call him
                              but he didnt answer. He
                              subsequently told Susan that he

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c                                                                         was in hospital because Joey had
'                                                                         a heart attack. I will try to call him
                                                                          again. We need to talk about
                                                                          this...

                                                                           From: Glen Lemer .
                                                                           <qlenlerneresq@aol.com>
                                                                           To: John Andry
                                                                           <johnandrv@vahoo.com>
                                                                           Sent: FriC:Iay, December 14, 2012 2:54
                                                                              PM
                                                                              Subject: Re: GQ

                                                                              Thonn?

                                                                              Sent from my iPhone

                                                                              On Dec 14, 2012, at 1:23PM, John
                                                                              Andry <johnandcy@yahoo.com>
                                                                              wrote:

                                                                                       did you talk with
                                                                                       Tiger about Thonn?

                                                                                       From: Glen Lemer
                                                                                       <glenlerneresg@aol.co
                                                                                       m>
                                                                                       To: Jonn Andry
(                                                                                      <johnandrv@Vahoo.co
                                                                                       m>
                                                                                       Cc: Teeto Graham
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                                                                                       com>; "Reggie Davis
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                                                                                       <Reggle@zynga.com>;
                                                                                       "gmmckenzie@ke!leydr
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                                                                                       <gmmckenzie@kelleydr
                                                                                       ye.com>; "Danny
                                                                                       Schwarz
                                                                                       (Dschwarz@schwarzleg
                                                                                       aLcorn)"
                                                                                       <Dschwari@schwarzle
                                                                                       qal.com>; "Jeff
                                                                                       Henschel
                                                                                       (jeffreyhensche!@aol.co
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                                                                                       "lhs31aw@hotmail.com"
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                                                                                       Sent: Friday, December

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                                   14,2012 1:29PM
                                   Subject: Re: GQ

                                   That's why you're the
                                   boss

                                   Sent from my iPhone

                                   On Dec 14,2012, at
                                   12:24 PM, John
                                   Andry
                                   <johnandrv@yahoo.c
                                   om> wrote:

                                            its AI
                                            Frank
                                            en.

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